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                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA

FLORIDA GAS TRANSMISSION                     §       CIVIL ACTION
COMPANY, LLC,                                §
     Plaintiff,                              §       NO.: 3:24-CV-00122-BAJ-RLB
                                             §
v.                                           §       JUDGE BRIAN A. JACKSON
                                             §
8.22 ACRES, MORE OR LESS,                    §       MAG. RICHARD L. BOURGEOIS, JR.
SITUATED IN IBERVILLE PARISH,                §
LOUISIANA, MURRELL FAMILY,                   §
L.L.C., AND FOREST HOME                      §
PLANTATION, L.L.C.                           §

            DEFENDANTS’ UNOPPOSED MOTION FOR EXTENSION OF TIME

       Pursuant to Local Rule 7(a), Defendants, 8.22 acres, more or less, situated in Iberville

Parish, Louisiana, Murrell Family, L.L.C., and Forest Home Plantation, L.L.C. (collectively,

“Defendants”), respectfully move this Court for an unopposed Order extending for twenty-one

(21) days, or until Friday, April 12, 2024, the time within which Defendants must answer or file

responsible pleadings to the Original Complaint in Condemnation [Rec. Doc. 1] (the

“Complaint”) of Plaintiff, Florida Gas Transmission Company, LLC (“Plaintiff”).

       1.      Plaintiff served Defendants with the Complaint on March 1, 2024. See Rec. Doc.

16 (Return for Forest Home), Rec. Doc. 17 (Return for Murrell Family), Rec. Doc. 18 (Affidavit

of Service). Pursuant to FED. R. CIV. P. 71.1(e)(2), Defendants’ Answer to the Complaint is due

on or before Friday, March 22, 2024.

       2.      Defendants represent that they are actively working with Plaintiff to resolve this

matter, and Defendants believe the Parties will complete their settlement negotiations prior to the

hearing on Plaintiff’s Motion to Confirm Condemnation of Servitudes and for Preliminary

Injunction [Rec. Doc. 3], which is currently set for May 15, 2024.
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       3.      Out of an abundance of caution, however, Defendants respectfully request a

twenty-one (21) day extension of time pursuant to Local Rule 7(a) until Friday, April 12, 2024,

in which to submit Defendants’ Answer to the Complaint, if necessary.

       4.      Defendants certify that this is their first request for an extension of time to plead

in this case, and that Plaintiff has not filed into the record an objection to an extension of time.

       5.      The undersigned conferred with counsel for Plaintiff, who indicated that his client

does not oppose the relief requested in this Motion.

                                              PRAYER

       WHEREFORE, Defendants, 8.22 acres, more or less, situated in Iberville Parish,

Louisiana, Murrell Family, L.L.C., and Forest Home Plantation, L.L.C., respectfully request an

Order granting Defendants a twenty-one (21) day extension of time, until Friday, April 12,

2024, to file pleadings responsive to the Complaint filed by Plaintiff in this matter.

       New Orleans, Louisiana this 22nd day of March, 2024.

                                               Respectfully submitted,

                                               /s/ Brandon T. Darden
                                               M. Taylor Darden (La. Bar # 4546)
                                               Brandon T. Darden, T.A. (La. Bar # 37089)
                                               Elizabeth C. Griffin (La. Bar # 40569)
                                               CARVER, DARDEN, KORETZKY, TESSIER,
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                                                       griffin@carverdarden.com

                                               ATTORNEYS FOR DEFENDANTS, 8.22 ACRES, MORE
                                               OR LESS, SITUATED IN IBERVILLE PARISH,
                                               LOUISIANA, MURRELL FAMILY, L.L.C., AND
                                               FOREST HOME PLANTATION, L.L.C.

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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on March 22, 2024, a copy of the foregoing pleading was

filed electronically with the Clerk of Court using the CM/ECF system. Notice of this filing will

be sent to all counsel of record registered to receive electronic service by operation of the Court’s

electronic filing system.

                                                      /s/ Brandon T. Darden
                                                      Brandon T. Darden




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